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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANE DOE,
                               Plaintiff,

                        v.

 SEAN COMBS, DADDY’S HOUSE
 RECORDINGS INC., CE OPCO, LLC d/b/a
 COMBS GLOBAL f/k/a COMBS
 ENTERPRISES LLC, BAD BOY                                         24-CV-08808 (JAV)
 ENTERTAINMENT HOLDINGS, INC., BAD
 BOY PRODUCTIONS HOLDINGS, INC.,                           NOTICE OF REASSIGNMENT
 BAD BOY BOOKS HOLDINGS, INC., BAD
 BOY RECORDS LLC, BAD BOY
 ENTERTAINMENT LLC, BAD BOY
 PRODUCTIONS LLC, ORGANIZATIONAL
 DOES 1-10, and INDIVIDUAL DOES 1-10,
                               Defendants.



JEANNETTE A VARGAS, United States District Judge:

       This case has been reassigned to the undersigned. All counsel must familiarize

themselves with the Court’s Individual Practices, which are available at

https://nysd.uscourts.gov/hon-jeannette-vargas. Unless and until the Court orders otherwise, all

prior orders, dates, and deadlines shall remain in effect notwithstanding the case’s reassignment.

       Additionally, counsel for all parties shall appear for an initial pretrial conference with the

Court on April 8, 2025, at 12:00 p.m. in Courtroom 14C, Daniel Patrick Moynihan United

States Courthouse, 500 Pearl Street, New York, New York 10007. Any open legal issues can be

addressed at the conference.

       Counsel are directed to confer with each other prior to the conference regarding

settlement and each of the other subjects to be considered at a Federal Rule of Civil Procedure 16

conference. Additionally, the parties are hereby ORDERED to file on ECF a joint letter,
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described below, as well as a proposed Civil Case Management Plan and Scheduling Order

attached as an exhibit to the joint letter, no later than April 1, 2025. The parties shall use this

Court’s form Proposed Civil Case Management Plan and Scheduling Order, which is also

available at https://nysd.uscourts.gov/hon-jeannette-vargas.

       The joint letter shall not exceed five pages, and shall provide the following information in

separate paragraphs:

       (1)     A brief statement of the nature of the action and the principal defenses;

       (2)     A brief explanation of why jurisdiction and venue lie in this Court. In any action

               in which subject matter jurisdiction is founded on diversity of citizenship pursuant

               to Title 28, United States Code, Section 1332, the letter must explain the basis for

               the parties’ belief that diversity of citizenship exists. Where any party is a

               corporation, the letter shall state both the place of incorporation and the principal

               place of business. In cases where any party is a partnership, limited partnership,

               limited liability company, or trust, the letter shall state the citizenship of each of

               the entity’s members, shareholders, partners, and/or trustees. If this information

               is lengthy, it may be included in an Appendix to the letter, not to be included in

               the page limit.

       (3)     A statement of all existing deadlines, due dates, and/or cut-off dates;

       (4)     A brief description of any outstanding motions;

       (5)     A brief description of any discovery that has already taken place and of any

               discovery that is necessary for the parties to engage in meaningful settlement

               negotiations;

       (6)     A brief description of the status of prior settlement discussions, without disclosing

               exact offers and demands;

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       (7)     A statement confirming that the parties have discussed the use of alternate dispute

               resolution mechanisms and indicating whether the parties believe that (a) a

               settlement conference before a Magistrate Judge; (b) participation in the District’s

               Mediation Program; and/or (c) retention of a privately retained mediator would be

               appropriate and, if so, when in the case the use of such a mechanism would be

               appropriate; and

       (8)     Any other information that the parties believe may assist the Court in advancing

               the case to settlement or trial, including, but not limited to, a description of any

               dispositive issue or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel are not required to submit

such a letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or

other proof of termination is filed on the docket by the due date of the joint letter and Proposed

Civil Case Management Plan, using the appropriate ECF Filing Event. See SDNY ECF Rules &

Instructions §§ 13.17-13.19 & App’x A, available at https://www.nysd.uscourts.gov/electronic-

case-filing.

       In accordance with the Court’s Individual Practices, requests for an extension or

adjournment may be made only by letter-motion filed on ECF and must be received at least two

(2) business days before the deadline or conference. The written submission must state (1) the

original date(s); (2) the number of previous requests for adjournment or extension; (3) whether

these previous requests were granted or denied; (4) whether the adversary consents and, if not,

the reasons given by the adversary for refusing to consent; and (5) the date of the parties’ next

scheduled appearance before the Court. Unless counsel are notified that the conference has been

adjourned, it will be held as scheduled.



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       Counsel who have entered a notice of appearance as of the issuance of this order are

directed (1) to notify counsel for all other parties in this action who have not yet appeared by

serving upon each of them a copy of this order and the Court’s Individual Practices forthwith,

and (2) to file proof of such notice with the Court. If unaware of the identity of counsel for any

of the parties, counsel receiving this order must forthwith send a copy of this order and the

Court’s Individual Practices to that party personally.

       SO ORDERED.

Dated: January 27, 2025
       New York, New York



                                                               JEANNETTE A. VARGAS
                                                               United States District Judge




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